Case 2:22-cv-00738-JAD-VCF Document 13 Filed 11/23/22 Page 1 of 2
Case 2:22-cv-00738-JAD-VCF Document 13 Filed 11/23/22 Page 2 of 2




                                    IT IS HEREBY ORDERED that the hearing scheduled for
                                    December 1, 2022, is VACATED.
                                    IT IS FURTHER ORDERED that the motion to withdraw
                                    (ECF No. 9), is DENIED as moot.

                                    IT IS SO ORDERED.


                                    ______________________________
                                    Cam Ferenbach
                                    United States Magistrate Judge

                                            11-23-2022
                                    DATED ________________________
